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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 1:12-cr-00326 AWI-BAM
12                                Plaintiff,                STIPULATION TO SET CHANGE OF
                                                            PLEA HEARING; FINDINGS AND
13   v.                                                     ORDER
14   DAMIAN MORALES-JERONIMO,                               DATE: September 23, 2013
                                                            TIME: 1:30 p.m.
15                                Defendant,                JUDGE: Hon. Anthony W. Ishii
16

17                                             STIPULATION
18          The United States of America, by and through its counsel of record, and defendant, by and
19
     through his counsel of record, hereby stipulate as follows:
20
            1.      By previous order, this matter was set for status conference for four defendants,
21
     including Damian Morales-Jeronimo, on September 23, 2013 at 10:00 a.m.
22
23          2.      By this stipulation, the undersigned parties agree to vacate the status conference as to

24 Damian Morales-Jeronimo only, and set a change of plea hearing for Mr. Morales-Jeronimo for

25 September 23, 2013 at 1:30 p.m. before Senior District Judge Anthony W. Ishii, and to exclude
26 time between the date of this stipulation and September 23, 2013 under 18 U.S.C. §§ 3161(h)(7)(A)

27
     and 3161(h)(7)(B)(i) and (iv).
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                                                        1
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            3.      The parties agree and stipulate, and request that the Court find the following:
 1
            a.      The parties have reached a plea agreement in advance of the September 23, 2013
 2

 3 status conference, the plea agreement has been filed with the Court, and the parties’ first available

 4 date for a change of plea hearing is on September 23, 2013 at 1:30 p.m.

 5          b.      Based on the above-stated findings, the ends of justice served by continuing the case
 6
     as requested outweigh the interest of the public and the defendant in a trial within the original date
 7
     prescribed by the Speedy Trial Act.
 8
            c.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
 9

10 seq., within which trial must commence, the time period of the date of this stipulation to September

11 23, 2013, inclusive, is deemed excludable pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and

12 3161(h)(7)(B)(i) and (iv) because it results from a continuance granted by the Court at defendant’s

13 request on the basis of the Court's finding that the ends of justice served by taking such action

14
     outweigh the best interest of the public and the defendant in a speedy trial.
15
            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
16
     the Speedy Trial Act dictate that additional time periods are excludable from the period
17

18 within which a trial must commence.

19 IT IS SO STIPULATED.
20

21 DATED:           September 19, 2013
22
                                           /s/ Henry Z. Carbajal III
23                                         HENRY Z. CARBAJAL III
                                           Assistant United States Attorney
24

25 DATED:           September 19, 2013
26
                                           /s/Barbara H. O’Neill
27                                         BARBARA H. O’NEILL
                                           Counsel for Defendant
28                                         DAMIAN MORALES-JERONIMO
                                                       2
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 1

 2                                                      ORDER
 3
     IT IS SO ORDERED.
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     Dated: September 19, 2013
 5
     DEAC_Signature-END:
                                                       SENIOR DISTRICT JUDGE
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